Case 2:05-cv-04182-SRD-JCW Document 3068-1 Filed 02/08/07 Page 1 of 2

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

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IN RE KATRINA CANAL BREACHES : CIVIL ACTION -

CONSOLIDATED LITIGATION
- ot NO, 05-4182
PERTAINS TO: SECTION “K” (2)

Palmer, C.A. No, 06-7540

ORDER

Before the Court is Plaintiff's Motion to Remand (Rec.Doc.No. 1608). Defendant alleges
several basis for removal, including improper joinder, Defendant removed this action under 28
U.S.C. § 1332, contending that the only non-diverse party, Defendant, Aparicio, Walker, &
Seeling, Inc. (“AWS”) is improperly joined. Defendants maintain that action against AWS is
perempted by Louisiana Revised Statutes, § 9:5606. The statute provides for a one-year/three-
year peremptive period for claims against insurance agents.

The Court oreviously addressed the application of this statute in the context of motions to
remand in which there is an assertion of improper joinder. This Court held that the peremptive
period commenced upon issuance of the policy because any alleged misrepresentations could
have been discovered given the policy’s clear language regarding extent of coverage. See
Lieschen Clover v. Allstate Ins. Co., 2006 WL 3366132, at *4 (E.D. La. Nov, 20, 2006)
(misrepresentations could not have been justifiably relied upon because they could have been
discovered upon issuance of the policy given the policy’s clear language); see also Dobson v.
Allstate Ins. Co., 2006 WI. 2078423, at *10-11 ED. La. July 21, 2006) (Vance, J.)
(nisrepresentations made at renewal period could not be justifiably relied upon if policy .

language is clear as to extent of coverage).
Case 2:05-cv-04182-SRD-JCW Document 3068-1 Filed 02/08/07 Page 2 of 2

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The policy was issued in March 2005, and suit was not filed uti August 28, 2006.
Moreover, all of the insurance agent’s alleged failures relate to procurement of insurance, which
means the peremptive period commenced upon the policy’s issuance with respect to these
allegations. See Notice of Removal, Petition, at | X (Rec.Doc.No, 1).

Based on the reasoning of the Clover and Dobson, the Court finds that the alleged
failures regard procurement of the policy and any alleged misrepresentations could not be
justifiably relied upon given the clear language in the policy with respect to the extent of
coverage. Therefore, the Court finds that the peremption period commenced upon issuance of the
policy.

The Court also finds that because any claims against him are perempted, Defendant AWS
is improperly joined in this action, and with its dismissal, the Court can exercise subject matter
jurisdiction over the proceeding under 28 U.S.C. § 1332, as there exists complete diversity
among the parties. Accordingly,

IT 18 ORDERED that Plaintiffs’ Motion to Remand (Rec.Doc.No, 1608) is DENIED.

IT IS FURTHER ORDERED that Defendant AWS is DISMISSED.

New Orleans, Louisiana, on this 12th day of January, 2007.

/ STANWOOD R. DUVAL, JR.
UNITED STATES/DISTRICT COURT JUDGE

